
Motion by appellant Glass to amend remittitur granted. Return of remittitur requested and, when returned, it will be amended by adding thereto the following: Upon the appeal herein there was presented and necessarily passed upon a question under the Constitution of the United States, viz.: Whether the denial of the motions of defendant Glass made during trial for a mistrial and a severance upon the ground that he was then unable to testify in his own defense because of his physical condition violated his rights to due process of law and the equal protection of the laws under the Fourteenth Amendment of the Constitution of the United States. This court held that the rights of defendant Glass under the Fourteenth Amendment of the Constitution of the United States had not been violated or denied. [See 8 N Y 2d 771.]
